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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ANGELICA CRUZ                                     :          CIVIL ACTION
                                                  :
               v.                                 :
                                                  :
NCO FINANCIAL SYSTEMS, INC.                       :          NO. 11-1613




                                            ORDER


               AND NOW, TO WIT: this 20th day of May, 2011, it having been reported that
the issues between the parties in the above action have been settled and upon Order of the Court
pursuant to the provisions of Rule 41.1(b) of the Local Rules of Civil Procedure of this Court , it
is

              ORDERED that the above action is DISMISSED with prejudice, pursuant to
agreement of counsel without costs.



                                                  MICHAEL E. KUNZ, Clerk of Court



                                                  S/Rose A. Barber
                                                  Rose A. Barber
                                                  Deputy Clerk

Copies forwarded by ECF to:
Tara Leigh Patterson
Ross S. Enders
